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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO.: 20-21535-CV-MARTINEZ-OTAZO-REYES

  BERNARD PIERRE,

         Petitioner,

  v.

  STATE OF FLORIDA,

        Respondent.
  ___________________________________/

   ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         THE MATTER was referred to the Honorable Alicia M. Otazo-Reyes, United States
  Magistrate Judge for a Report and Recommendation (“R&R”) on the Petition for Writ of Habeas
  Corpus Pursuant to 28 U.S.C. Section 2254 filed by Bernard Pierre (DE 6). Magistrate Judge
  Otazo-Reyes filed an R&R concluding that Petitioner’s claims of ineffective assistance of counsel
  do not meet the standards for federal habeas relief and recommending that Petition be denied. (DE
  23). Neither party filed objections. The Court having reviewed the R&R and record in this case de
  novo, it is hereby
         ORDERED AND ADJUDGED that United States Magistrate Judge Otazo-Reyes’ Report
  and Recommendation (DE 23) is AFFIRMED and ADOPTED. The Petition is DENIED. The
  Clerk is directed to mark this case CLOSED.
         DONE AND ORDERED in Chambers at Miami, Florida, this 11th day of January, 2021.



                                                      ____________________________________
                                                      JOSE E. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE
